Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 1 of 24 PageID 9049


                                EXHIBIT 8




                                                                 Appx. 00468
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 2 of 24 PageID 9050




                                                                 Appx. 00469
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 3 of 24 PageID 9051




                                                                 Appx. 00470
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 4 of 24 PageID 9052




                                                                 Appx. 00471
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 5 of 24 PageID 9053




                                                                 Appx. 00472
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 6 of 24 PageID 9054




                                                                 Appx. 00473
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 7 of 24 PageID 9055




                                                                 Appx. 00474
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 8 of 24 PageID 9056




                                                                 Appx. 00475
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 9 of 24 PageID 9057




                                                                 Appx. 00476
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 10 of 24 PageID 9058




                                                                  Appx. 00477
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 11 of 24 PageID 9059




                                                                  Appx. 00478
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 12 of 24 PageID 9060




                                                                  Appx. 00479
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 13 of 24 PageID 9061




                                                                  Appx. 00480
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 14 of 24 PageID 9062




                                                                  Appx. 00481
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 15 of 24 PageID 9063




                                                                  Appx. 00482
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 16 of 24 PageID 9064




                                                                  Appx. 00483
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 17 of 24 PageID 9065




                                                                  Appx. 00484
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 18 of 24 PageID 9066




                                                                  Appx. 00485
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 19 of 24 PageID 9067




                                                                  Appx. 00486
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 20 of 24 PageID 9068




                                                                  Appx. 00487
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 21 of 24 PageID 9069




                                                                  Appx. 00488
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 22 of 24 PageID 9070




                                                                  Appx. 00489
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 23 of 24 PageID 9071




                                                                  Appx. 00490
Case 3:21-cv-00881-X Document 138-8 Filed 07/14/23   Page 24 of 24 PageID 9072




                                                                  Appx. 00491
